 1   GARY W. DYER
 2
     Assistant United States Trustee
     United States Dept. of Justice
 3   Office of the United States Trustee
     United States Courthouse
 4   W. 920 Riverside Ave. Room 593
 5   Spokane, Washington 99201
     Telephone (509) 353-2999
 6   Fax (509) 353-3124
 7

 8
                            UNITED STATES BANKRUPTCY COURT
 9                          EASTERN DISTRICT OF WASHINGTON

10

11   In re:                          }
                                     }                  Case No: 24-01421-FPC11
12
     IDEAL PROPERTY INVESTMENTS, LLC }
13
                                     }                  APPOINTMENT OF COMMITTEE
                                     }                  OF UNSECURED CREDITORS IN A
14                        Debtor     }                  CHAPTER 11 REORGANIZATION CASE

15
              The Acting United States Trustee hereby appoints the following creditors of the above-
16
     named debtor to the committee of unsecured creditors.
17

18            Sterling A Davis
              Big Boy Tools LLC
19            12625 Hideout Dr.
20
              Noblesville, IN 46060
              (419) 352-2239
21
              Ronald N. Cole
22            COLEWSTECH LLC & RCWSTECH1157 LLC
23
              2960 Lewallen Place
              Decatur, IL 62521
24            (217) 848-0830
25
              David Schroeder
26            6404 Myrtle Lane
              Indianapolis, IN 46220
27            (317) 432-6225
28




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 1   D A T E D this 7th day of October, 2024.
 2

 3                                                  Respectfully submitted,
 4                                                  JONAS V. ANDERSON
 5                                                  Acting United States Trustee for Region 18

 6
                                                    /s/ Gary W. Dyer
 7
                                                    GARY W. DYER
 8                                                  Assistant United States Trustee

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